      Case 2:17-cv-03826-DLR Document 175 Filed 02/22/21 Page 1 of 2



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Montiah Chatman,                                    No. CV-17-03826-PHX-DLR
10                    Plaintiff,                         ORDER
11   v.
12   Marci D Ferrell, et al.,
13                    Defendants.
14
15
16          Before the Court is Defendants’ Motion in Limine Regarding Expert Witness
17   Timothy Turner. (Doc. 161.) The motion is fully briefed, and for the reasons set forth
18   below, denied.
19          Timothy Turner (“Turner”) is a retired CPS/DCS employee. He was retained by
20   Plaintiffs as an expert witness to offer testimony about the standard of care within the
21   agency and whether Defendants Ferrell and Chrisman acted in accordance with that
22   standard of care. The Court has entered summary judgment in favor of Plaintiffs on civil
23   rights claims brought pursuant to 42 U.S.C. § 1983 and on Plaintiff’s state claim for false
24   imprisonment. (Docs. 129, 153.) Plaintiffs argue that, because liability is no longer an
25   issue in the case, Turner, a liability expert, has no relevant testimony to offer.
26          Plaintiffs are seeking punitive damages. The parties have stipulated to the Ninth
27   Circuit Model Civil Jury Instruction 5.5 (2017) (modified) as the punitive damage
28   instruction to be given to the jury. The instruction advises the jury that it may award
      Case 2:17-cv-03826-DLR Document 175 Filed 02/22/21 Page 2 of 2



 1   punitive damages only if it finds “that a defendant’s conduct that harmed [Plaintiffs]
 2   was…in reckless disregard of [Plaintiffs’] rights.” (Doc. 166-1 at 20.) That instruction
 3   further informs the jury that “[c]onduct is in reckless disregard of the plaintiff’s rights if,
 4   under the circumstances, it reflects complete indifference to the plaintiffs’ safety or rights,
 5   or if the defendant acts in the face of perceived risk that its actions will violate the
 6   plaintiff[s’] rights under federal law.” Id.
 7          The protocols, procedures and standard of care of CPS/DCS employees is not
 8   information commonly known to the average juror. Turner’s testimony is relevant to the
 9   question of punitive damages. It is evidence of the conduct expected of reasonably prudent
10   persons working at CPS/DHS in the positions held by Defendants Ferrell and Chrisman at
11   the time of the events in question. It therefore provides evidence to the jury when it
12   evaluates whether the conduct of these defendants was so far below the standard of what
13   is expected of employees in their positions that it amounted to reckless disregard of
14   Plaintiffs’ rights. Although Turner is a liability expert, his expertise is also relevant to the
15   jury’s determination of punitive damages. Accordingly,
16          IT IS ORDERED that Defendants’ Motion in Limine Regarding Expert Witness
17   Timothy Turner (Doc. 161) is DENIED.
18          Dated this 22nd day of February, 2021.
19
20
21
22
                                                     Douglas L. Rayes
23                                                   United States District Judge
24
25
26
27
28


                                                    -2-
